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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov              AMENDED 19-23123-LMI
In re:                                             Case No. 19-023121 LMI
                                                   Chapter 13
Marty L. Taylor-Bey
Debtor                               /

                                 OBJECTION TO CLAIM
                         IMPORTANT NOTICE TO dCREDITOR:
                        THIS IS AN OBJECTION TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this
objection carefully to identify which claim is objected to and what disposition of
your claim is recommended.

        If you disagree with the objection or the recommended treatment, you must
file a written response WITHIN 30 DAYS from the date of service of this objection,
explaining why your claim should be allowed as presently filed, and you must
serve a copy to the undersigned attorney OR YOUR CLAIM MAY BE DISPOSED
OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

      If your entire claim is objected to and this is a chapter 11 case, you will not
have the right to vote to accept or reject any proposed plan of reorganization until
the objection is resolved, unless you request an order pursuant to Bankruptcy
Rule 3018(a) temporarily allowing your claim for voting purposes.

       The written response must contain the case name, case number, and must
be filed with the Clerk of the United States Bankruptcy Court.

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the debtor objects to
the following claim filed in this case *:

         Claim    No.

         Proof of Claim No. 1 filed December 13, 2019


         Name of Claimant

         Bayview Loan Servicing
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       Amount of Claim

       $89,516.82


       Basis of Objection and Recommended Disposition

       On February 11, 2011, Mr. Taylor-Bey filed a Chapter 13 bankruptcy in the Miami

Division of the Southern District of Florida, In Re Marty Taylor Bey, Case No. 11-13536,

because his mortgage with Bayview Loan Servicing was in foreclosure. Bayview Loan

Servicing was listed as a creditor and filed a Proof of Claim in the bankruptcy case and

was provided for in Mr. Taylor-Bey’s Chapter 13 Plan and received distributions.

        At the conclusion of the Chapter 13 case, on July 16, 2016, bankruptcy Judge

Robert A. Mark signed an Order Granting Debtor’s Motion to Deem Bayview Financial

Loan Current as of March, 2016. A copy is attached as Exhibit A. The Order states that

Mr. Taylor-Bey’s loan with Bayview was current as of March 2016, that all arrears were

cured as of March 2016 and that Bayview shall waive all late charges and other fees

applied prior to March 2016. At the conclusion of his Chapter 13 case, Mr. Taylor-Bey

commenced in April 2016 once again making principal and interest payments of

$551.11 to Bayview.

       On June 10, 2016, Bayview sent Mr. Taylor-Bey an Annual Escrow Account

Disclosure Statement which stated on page 2 that Mr. Taylor-Bey had an Actual Escrow

Balance of $12,930.01. (Emphasis added.) Copy attached as Exhibit B. This actual

escrow surplus was not refunded to the debtor which violates RESPA at 12 C.F.R.

§1024.17 (f) (2) (1). In addition, failure to refund this actual escrow surplus violates

paragraph 2 of the mortgage.1 Creditor’s claim must be reduced by $12,930.01.
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                                                   Respectfully submitted,
                                                   LEGAL SERVICES OF GREATER
                                                   MIAMI, INC.

                                                   By       s/
                                                   Carolina A. Lombardi
                                                   Florida Bar No. 0241970
                                                   4343 West Flagler Street, Ste. 100
                                                   Miami, FL 33134
                                                   Telephone/Facsimile: (305) 438-2427
                                                   Primary: Clombardi@legalservicesmiami.org;
                                                   Alt.: Sfreire@legalservicesmiami.org




1 12. CFR § 1024.17 (f)(2)(i)
   (i) the servicer may refund such amount to the borrower, or credit such amount against the next year's
  escrow If an escrow account analysis discloses a surplus, the servicer shall, within 30 days from the date of
  the analysis, refund the surplus to the borrower if the surplus is greater than or equal to 50 dollars ($50). If
  the surplus is less than 50 dollars ($50), payments.
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